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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

 UNITED STATES OF AMERICA

                  Plaintiff,

        v.                                                   Case No. 10-20388
                                                             Honorable Mark A. Goldsmith
 D-5 ANTONIO WATSON,
 D-10 DAMICHAEL WASHINGTON,

             Defendants.
 ____________________________________/


 OPINION AND ORDER GRANTING IN PART AND DENYING IN PART DEFENDANT
 DAMICHAEL WASHINGTON’S [DE#186] MOTION FOR DISCLOSURE OF, AND TO
  LIMIT THE SCOPE OF, EXPERT TESTIMONY REGARDING DRUG “LINGO” OR
  “CODE” AND DEFENDANT ANTONIO WATSON’S [DE#192] MOTION TO LIMIT
                          EXPERT TESTIMONY

        Before the Court are the following motions:

        1)        Defendant Damichael Washington’s “Motion for Disclosure of, and to
                  Limit the Scope of, Expert Testimony Regarding Drug ‘Lingo’ or ‘Code’”
                  [DE#186].

        2)        Defendant Antonio Watson’s “Motion to Limit Expert Testimony”
                  [DE#192].

        For the reasons set forth below, the Court grants the motions, in part, and denies

 them, in part.


 I.     Background

        On November 22, 2010, Defendant Damichael Washington filed a “Motion for

 Disclosure of, and to Limit the Scope of, Expert Testimony Regarding Drug ‘Lingo’ or ‘Code’”

 [DE#186]. On December 2, 2010, Defendant Antonio Watson filed a “Motion to Limit Expert

 Testimony” [DE#192]. The motions argued that the government’s proposed testimony regarding
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 Defendants’ use of drug “code” or “lingo” in intercepted conversations should be limited

 because the government had not made the necessary expert disclosures, and because any

 potential testimony by law enforcement agents in this case would require the agent to

 impermissibly offer both lay and expert testimony to the jury.

        The government submitted expert witness disclosures on January 12, 2011. [DE#227].

 The document disclosed that Task Force Officer and Michigan State Police Trooper Keith

 Sparks would offer his opinion as to the meaning of certain words that were intercepted in

 conversations during the investigation. The document also set out Officer Sparks’ relevant

 experience and qualifications. The Court reviewed the government’s expert witness disclosures

 and concluded that the document did not purport to include all of the terminology to which

 Officer Sparks might testify. [DE#269] at 3 (Opinion and Order of 2/9/11). The Court directed

 that the government submit a supplemental expert disclosure as to the proposed testimony of

 Officer Sparks.   The supplemental disclosure was required to include all of the terms the

 government wanted Officer Sparks to explain or define, along with the specific basis for Officer

 Sparks’ opinion with regard to each term.

        On February 22, 2011, the government filed the supplemental expert witness disclosure.

 [DE#281]. Defendants did not respond to this disclosure. However, they did indicate in the

 March 23, 2011 hearing on the present motions that they continue to press their original motions.

 II.    Analysis

        The government’s disclosures may be divided into two categories: (i) a chart showing

 terms that Officer Sparks would define and (ii) four terms or phrases coming from intercepted

 telephone calls on which Officer Sparks would “testify to his opinion of the meaning of the . . .




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 terms by apply[ing] his experience to an analysis of the context of intercepted calls[.]”

 [DE#281] at 4. The Court addresses each category separately.

        A. Chart Terms

        After reviewing the government’s expert disclosures, the Court concludes that Officer

 Sparks may testify to the content outlined in the chart on pages two through four of the

 government’s supplemental expert disclosure. The Court is satisfied that the government has

 provided sufficient information to assure the Court that this proposed expert testimony will be

 based upon Officer Sparks’ extensive contact as a law enforcement officer with illegal drug

 trafficking, rather than based upon conclusions drawn from Sparks’ knowledge of the

 investigation in this case. See United States v. Dukagjini, 326 F.3d 45, 55 (2d Cir. 2003) (officer

 expert testimony permissible to interpret individual code words); United States v. Mejia, 545

 F.3d 179, 192-93 (2d Cir. 2008) (one way an officer might “stray from the scope of his

 expertise” is by interpreting ambiguous terms based on knowledge gained through involvement

 in the case rather than the fixed meaning of those terms). Further, it is apparent from the

 supplemental disclosure that this proposed testimony will not be based on hearsay in violation of

 Crawford v. Washington, 541 U.S. 36 (2004).

        B. Terms From Intercepted Phone Calls

        For the reasons set out below, the Court will not permit Officer Sparks to “testify to his

 opinion of the meaning of the [four terms or phrases coming from intercepted telephone calls] by

 apply[ing] his experience to an analysis of the context of intercepted calls[.]”

        The dangers inherent in allowing a law enforcement officer involved in the case at hand

 to testify as an expert concerning coded terminology are well known. See Mejia, 545 F.3d at 190

 (“If the officer expert strays beyond the bounds of appropriately ‘expert’ matters, that officer



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 becomes, rather than a sociologist describing the inner workings of a closed community, a

 chronicler of the recent past whose pronouncements on elements of the charged offense serve as

 shortcuts to proving guilt.”). In particular, expert testimony must only relate to subject matter

 that is “beyond the ken” of the average juror. Mejia, 545 F.3d at 191-92. Further, an expert may

 not (i) testify about the meaning of conversations in general, beyond simply interpreting code

 words, or (ii) interpret ambiguous terms for the jury based on knowledge gained through

 involvement in the case rather than informing jury of “drug code with fixed meaning within the

 narcotics world,” Dukagjini, 326 F.3d at 55.

        The proposed testimony concerning the terms “whizzy,” “big,” “go fishin’ with it,” and

 “grizzy” run afoul of these principles.

        With regard to the term “whizzy,” the government proposes to elicit from Sparks his

 opinion that it refers to cocaine. The term is used in the following excerpt from an intercepted

 phone call:

        Lamonte Watson:        Yeah, I’m gonna know something in a minute, but I don’t
                               know how good the whizzy gonna be. My guy talking
                               about it ain[’]t lookin the pretty.

        Vourice Meeks:         Shit as long as that shit take that water man we good. If we
                               can just break even right now, shit . . . feel me?

 [DE@281] at 8. The government summarizes the basis for Sparks’ prospective testimony that

 the term “whizzy” means cocaine as follows: “Officer Sparks knows that cocaine is commonly

 converted into crack through a process that involves dissolving the powder into water. Meeks

 indicated that the “whizzy” or cocaine would be fine as long as it could convert into crack.” Id.

        Officer Sparks’ proposed testimony “usurp[s] the jury’s function.” Dukagjini, 326 F.3d

 at 54. It is proper for Sparks to testify that water is commonly used in converting cocaine into

 crack. But that is the only element of this inquiry that is a matter of his expertise. The remaining


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 question – whether in the context of the above conversation the use of the phrase “take that

 water” relatively soon after talking about “whizzy” means that “whizzy” likely means cocaine –

 is a matter for the jury’s judgment. Once Officer Sparks gives the jury the benefit of his

 experience-based expertise about water’s role in formulating crack, he provides no other special

 knowledge that would properly assist a jury in determining whether to draw the ultimate

 conclusion concerning the definition of “whizzy.”

        The Court will similarly limit testimony related to the phrase “go fishin’ with it,” which

 the government contends refers to the process of converting cocaine base into crack. The call

 excerpt the government offers is:

        Timothy Grayson:        Did anybody go fishin with it?

        Lamonte Watson:         S**t, Rasheed said it did what it did for him.

        Timothy Grayson:        Oh, okay, that’s all. (UI)

        Lamonte Watson:         And, he said he, he said it tried to lock up for him quick,
                                though, but he, I think he dry whipped it.

        Timothy Grayson:        Oh, okay, well you, I’m a, uh, I’m fiddin’ to come pop up
                                on you then . . . I’m, I’m probably gonna be the morning
                                for them other two.

 [DE#281] at 6. The government contends that Officer Sparks knows from experience (i) that

 individuals who purchase cocaine for resale are particularly concerned with the quality of the

 drug because cocaine is easily diluted in order to increase its quantity, (ii) that much of the value

 of cocaine is dependent on its conversion to crack, or hard cocaine, (iii) that the conversion of

 cocaine into crack involves the cocaine turning into a solid form, or “locking up,” and (iv) that

 low quality cocaine at times converts into hard crack cocaine too quickly, thereby inhibiting the

 ability to add further dilutants. It further contends that “[b]ased on Officer Sparks[’] experience




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 and this context, Officer Sparks can offer an opinion that ‘go fishing with it’ referred to the

 conversion of powder cocaine into crack.” Id. at 7-8.

          As explained above, the Court will not permit Sparks to testify to the ultimate conclusion

 of what the conversation participants were referring to by the term “going fishing.” However, if

 Officer Sparks can testify that the phrase “lock up” is a common way of referring to cocaine

 turning into a solid form, then there is at least an inferential link that “going fishin’ with it”

 means cooking cocaine into crack. Officer Sparks can testify to the facts he knows from

 experience, and jury members can then decide for themselves whether, in the context of the

 conversation, the phrase actually refers to the crack manufacturing process.

          For different reasons, the Court will not allow Sparks to testify, without more of a

 foundation, that the term “big” refers to 1/8 of kilogram of cocaine and that “grizzy” means a

 gram.

          The Court finds insufficient the inferential chain in the government’s argument that a

 “big” means 1/8 of a kilogram of cocaine. The government offers excerpts from three phone

 calls:

          (Call one)
          Duane Williams:       Are we still looking good?

          Lamonte Watson:       I ain’t got that same no more. I got some other shit it ain’t
                                it it just coming back. It ain’t the best, but it it’s for like
                                thirty five a big.

          (Call two)
          Duane Williams:       That’s what I told them. I said man I can get you a big for
                                like for three man, and it’s, it’s, it’s cookin but its ain’t
                                doin’ what it’s doin’, at least like alright when I took it over
                                there and I cook it in his face.

          Lamonte Watson:       Yeah




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        Duane Williams:        You know what I’m sayin and he like, man . . . but I’m
                               fiddin’ to go talk to the nigga man ‘cause I was tryin’ to get
                               rid of this shit and then I got about four other calls but I
                               don’t wanna give any of these niggas’ back their money
                               back for real.
        ...

        (Call three)
        Lamonte Watson:        UI . . . not really I got some work, but it ain’t that good.

        Shawn Smith:           Uhhh . . Shit, it’s work.

        Lamonte Watson:        I mean you know it’d lock up everything but it ain’t gonna
                               jump and some people might not know how to hook it
                               right, but it, my guy, I know it’d lock up for sure . . . you
                               going to get what you get back . . . it’s 35 a big though.

        Shawn Smith:           Yea., what shit you got, I got to deal with it . . uh . . I be,
                               man I got . . . . I got . . I got . . I got uh . . . 3 dollars right
                               now, but I jus’ was waiting on my peoples . . . uh . . you
                               know my white boy to come.

        Lamonte Watson:        Oh, ok . . yeah . . . . that’s all I got, but shit . . . 35 . .

        Shawn Smith:           A’igh just, you know when . . I . . . shit . . when cause when
                               I . . I’m trying to have every penny . . you know what I’m
                               saying. . .

 281 at 4-5. The government argues that Officer Sparks should be able to offer his opinion that

 the term “big” refers to one-eighth of a kilogram of cocaine based on the following information:

 (i) Sparks knows that “$3500 is a fairly low, wholesale price for one-eighth of a kilogram of

 cocaine” and (ii) Sparks also knows that the terms “cooking” and “lock up” refer to the process

 of converting powder cocaine into crack. Id. at 5-6.

        The Court finds the inferential chain the government proposes to be without adequate

 foundation. First, the speakers in the intercepted calls never say $3500; they refer only to “35”

 in reference to a “big.” Translating “35” into “3500” and understanding it to mean “3500

 dollars” requires another set of inferential leaps, for which the government does not purport to



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 offer expert testimony. Second, even understanding the terms “cooking” and “lock up” to refer

 to the cocaine conversation process, that predicate has no bearing on whether “big” is one-eighth

 of kilogram of cocaine. In fact, nowhere in the conversations is one-eighth of a kilogram

 mentioned. So, the only basis for concluding that that is the amount of a “big” is Sparks’

 understanding that “$3500 is a fairly low, wholesale price for one-eighth of a kilogram of

 cocaine.” Id. at 5. This is problematic for two reasons. First, Sparks does not assert that $3500

 is the standard or average price of one-eighth of a kilogram. The fact that Sparks indicates that

 the price seems non-average (or “low”) for that amount gives reason to question whether the

 assigned amount is correct.        Second, even in the course of the government’s excerpted

 conversations, a “big” is not always “35” – Defendant Duane Williams represents that he “can

 get [someone] a big for like for three. . .” Id. at 5.

         For these reasons, the Court will not permit Officer Sparks to offer testimony in relation

 to the meaning of a “big,” unless the government can establish an appropriate foundation.

         Finally, the same is true with regard to the conclusion that a “grizzy” means a gram. The

 government makes its case as follows:



         The term “grizzy” was intercepted in several calls. In a call Between Shawn
         Smith and a male identified only as Roger, Smith and Roger discussed the weight
         of a substance. Roger described providing a “tester” which Officer Sparks knows
         to be a small quantity of drugs given to users so that they can determine the
         quality of the drug. The discussion also related to one-tenth of a unit
         measurements. Officer Sparks knows that grams, particularly grams of heroin,
         are commonly divided into one-tenth of a gram quantities. Thus, Officer Sparks
         can offer an opinion, based upon his experience, that the term “grizzy” is code
         f[or] gram. The following is an excerpt from that call:

                 Shawn Smith:            Man that shit 3.3 my nigga, I swear to God.

                 Roger:                  What?



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                Shawn Smith:          On my mama.

                Roger:                What?

                Shawn Smith:          Yeah. Yeah. It was four even with the bag.
                                      And you had the bag tore.

                Roger:                Right.

                Shawn Smith:          Yeah.

                ...

                Roger:                Cuz, on my, on my kids, all I did was just
                                      give a little tester out.

                Shawn Smith:          Shit, you probably gave too much nigga.

                Roger:                No, no, hell no. I ain’t give no grizzy out.

                Shawn Smith:          No, you gave seven tenths out. It’s three
                                      three.

                Roger:                Noooh. I only did one person.

 [DE#281] at 7-8.

        The Court finds the government’s argument insufficient. It is simply not clear from the

 context of the conversation that the jury could legitimately conclude that “grizzy” means gram.

 Accepting all of the expertise-based facts that Officer Sparks offers, one could conclude that a

 grizzy is some amount. But, in the context of the conversation it could only be inferred that a

 “grizzy” would be “too much.” (Shawn Smith told Roger that he probably gave out too much,

 Roger responded, no, that he did not give “no grizzy.”) It could be “seven–tenths” of something,

 or it could be another amount altogether. But the conversation does not give sufficient basis to

 conclude that the amount in question is grams or that a “grizzy” is one gram.

        Accordingly, as set out in detail above, Officer Sparks will be permitted to give only

 limited testimony concerning the four terms/phrases originating from intercepted phone calls.


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 III.   Conclusion

        For the foregoing reasons, Defendant Damichael Washington’s “Motion for Disclosure

 of, and to Limit the Scope of, Expert Testimony Regarding Drug ‘Lingo’ or ‘Code’” [DE#186]

 and Defendant Antonio Watson’s “Motion to Limit Expert Testimony” [DE#192]                    are

 GRANTED IN PART and DENIED in part.

        IT IS SO ORDERED.

 Dated: April 25, 2011                               s/Mark A. Goldsmith
                                                     MARK A. GOLDSMITH
                                                     United States District Judge


                                 CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing document was served upon counsel of record
 and any unrepresented parties via the Court=s ECF System to their respective email or First Class
 U.S. mail addresses disclosed on the Notice of Electronic Filing on April 25, 2011.

                                                     s/Deborah J. Goltz
                                                     DEBORAH J. GOLTZ
                                                     Case Manager




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